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                      IN THE UNITED STATES MAGISTRATE COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

UNITED STATES OF AMERICA                            *

v.                                                  *              ACTION NO. 7:21-PO-0001

EDUARDO LEAL                                        *


                                       NOTICE OF APPEAL

       On this 18th day of October, 2021, notice is hereby given that, Eduardo Leal, defendant above

named, hereby appeals to the District Court from the Memorandum and Order adjudicating the

defendant guilty on October 4, 2021.

                                             Respectfully submitted,

                                             MARJORIE A. MEYERS
                                             Federal Public Defender
                                             Southern District of Texas
                                             Texas State Bar No. 14003750
                                             Southern District of Texas No. 3233


                                             By /s/ Chris Gonzalez
                                             CHRIS GONZALEZ
                                             Assistant Federal Public Defender
                                             Attorney-in-Charge
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     Case 7:21-po-00001 Document 15 Filed on 10/18/21 in TXSD Page 2 of 2




                                CERTIFICATE OF SERVICE

       I, Chris Gonzalez, certify that on the 18th day of October, 2021, a copy of the foregoing

Notice of Appeal was served by Notification of Electronic Filing upon Assistant United States

Attorney, Devin Walker, 1701 W. Business Hwy. 83, Suite 600, McAllen, Texas.


                                              /s/ Chris Gonzalez
                                             CHRIS GONZALEZ
                                             Assistant Federal Public Defender
